        Case 24-17484-ABA                    Doc 58        Filed 08/16/24 Entered 08/16/24 10:34:44                             Desc Main
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Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)    24-17484
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule       Voluntary Petition
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 16, 2024                 X /s/ Amanjot Kaur
                                                           Signature of individual signing on behalf of debtor

                                                            Amanjot Kaur
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

Debtor name           FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number (if known)              24-17484
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,772,361.24

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,772,361.24


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,394,205.06


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           574,583.58


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,968,788.64




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:           DISTRICT OF NEW JERSEY

Case number (if known)             24-17484
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Amur Equipment Financing                     Describe debtor's property that is subject to a lien                   $54,073.12                $40,000.00
      Creditor's Name                              2021 Freightliner - 477,145 miles 6016 Serial
                                                   Ending MU8303 Amur 7899
      304 W. 3d St.
      Grand Island, NE 68801
      Creditor's mailing address                   Describe the lien
                                                   Equipment Loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7899
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   BMO Harris Bank                              Describe debtor's property that is subject to a lien                   $10,336.02                $20,000.00
      Creditor's Name                              2018 Volvo - 593,404 miles 6017 Serial Ending
                                                   887597 BMO 6001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                   Describe the lien
                                                   equipment lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6001
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 13
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            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   BMO Harris Bank                             Describe debtor's property that is subject to a lien                      $19,817.61       $20,000.00
      Creditor's Name                             2018 Volvo - 840,001 miles 6021 Serial Ending
                                                  998401 BMO 9001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $135,748.23       $70,000.00
      Creditor's Name                             2019 Volvo - 590,830 miles 6045 Serial ending
                                                  204722 Value $35,000.00
                                                  2019 Volvo - 560,651 miles 6046 Serial ending
      111 W. Monroe St.                           204724 Value $35,000.00
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   BMO Harris Bank                             Describe debtor's property that is subject to a lien                       $7,547.36       $42,000.00
      Creditor's Name                             2019 Volvo 6008 Serial ending 204000 Value
                                                  21,000.00
                                                  2019 Volvo 6011 Serial ending 204004 Value
      111 W. Monroe St.                           21,000.00
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien
                                                  equipment lien

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 13
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            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $2,945.20       $21,000.00
      Creditor's Name                             2018 Volvo - 757,833 miles 6013 Serial ending
                                                  889048 BMO 9001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $7,690.65       $21,000.00
      Creditor's Name                             2019 Volvo - 719,574 miles 6015 Serial Ending
                                                  KJ4367 BMO 5001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 13
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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)      24-17484
            Name


2.8   BMO Harris Bank                             Describe debtor's property that is subject to a lien                      $25,932.51       $40,000.00
      Creditor's Name                             2019 Volvo - 810,291 miles 6020 Serial
                                                  ending 899693 BMO 8002
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $113,200.28       $70,000.00
      Creditor's Name                             2019 Volvo - 767,705 miles 6033 Serial ending
                                                  4721 Value $35,000
                                                  2019 Volvo - 660,162 miles 6032 Serial ending
      111 W. Monroe St.                           4728 Value $35,000
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
0     BMO Harris Bank                             Describe debtor's property that is subject to a lien                      $75,122.41       $40,000.00
      Creditor's Name                             2020 Freightliner 6058 Serial Ending SLM3714
                                                  BMO 8001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)


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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)     24-17484
            Name

      Last 4 digits of account number
      8001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
1     BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $15,759.65       $30,000.00
      Creditor's Name                             2018 Volvo - 660,162 miles 6029 Serial Ending
                                                  998416 BMO 9001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     BMO Harris Bank                             Describe debtor's property that is subject to a lien                     $51,868.31       $35,000.00
      Creditor's Name                             2019 Volvo - 579,027 miles 6041 Serial ending
                                                  902731 BMO 9001
      111 W. Monroe St.
      Chicago, IL 60603
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
3     CCG                                         Describe debtor's property that is subject to a lien                     $48,080.54      $100,000.00




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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)      24-17484
            Name

      Creditor's Name                             2021 Vanguard Dry Van Trailer F101, Serial #
                                                  ending 6833 Value $20,000.00
                                                  2021 Vanguard Dry Van Trailer F102, Serial #
                                                  ending 6832 Value $20,000.00
                                                  2021 Vanguard Dry Van Trailer F103, Serial #
      525 N. Tryon St.                            ending 6829 Value $20,000.00
      Suite 1000                                  2021 Vanguard D
      Charlotte, NC 28202
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
4     Channel Partners                            Describe debtor's property that is subject to a lien                      $52,731.30       $40,000.00
      Creditor's Name                             2022 Kenworth - 419,898 miles6018 Serial
                                                  Ending 474947 Channel Loan 48-1M

      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      481M
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
5     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $363,402.00      $273,000.00
      Creditor's Name                             2019 Hyundai Dry Van Trailer F132, Serial #
                                                  ending 5005 Value $24,000.00
                                                  2019 Hyundai Dry Van Trailer F133, Serial #
                                                  ending 5004 Value $24,000.00
                                                  2020 Hyundai HTC Trailer F135, Serial #
      Attn: Loan Operations                       ending 5035 Value $27,000.00
      1695 State Street                           2020 Great Dane Dry Va
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien

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Debtor      FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)      24-17484
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                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9003
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
6     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $131,898.00      $100,000.00
      Creditor's Name                             Qty 13 - 2023 Tripac Auxiliary Power Units
      Attn: Loan Operations
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9004
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     Fulton Bank                                 Describe debtor's property that is subject to a lien                      $92,323.20       $55,000.00
      Creditor's Name                             2021 VOLVO - 6062 - 394,726 miles Serial
      Attn: Loan Operations                       ending 2897 Value $55,000.00
      1695 State Street
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9005
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
8     Fulton Bank                                 Describe debtor's property that is subject to a lien                     $180,470.61      $105,000.00
      Creditor's Name                             2020 Freightliner - 6024- 660,162 miles Serial
                                                  Ending 3789 Fulton Loan 9006 Value
                                                  $35,000.00
                                                  2020 Frieghtliner 6025 - 686,617 miles Serial
                                                  ending 3680 Fulton Loan 9006 Value $35,000
      Attn: Loan Operations                       2020 Frieghtliner-6026 - 683,147 miles Serial
      1695 State Street                           Ending
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien
                                                  equipment lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9006
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
9     Fulton Bank                                 Describe debtor's property that is subject to a lien                 $1,068,223.95        $470,000.00
      Creditor's Name                             2021 FREIGHTLINER - 6047 - 374,513 miles
                                                  Serial ending 8909
                                                  2021 FREIGHTLINER -6048 - 467,766 miles
                                                  Serial Ending 8753
                                                  2021 FREIGHTLINER - 6049- 408,425 miles
                                                  Serial Ending 9009
                                                  2021 FREIGHTLINER - 6051 -353,202 miles
      1695 State Street                           Serial Ending 8835
      East Petersburg, PA 17520
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



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            Name



2.2
0     KAL Trailers                                Describe debtor's property that is subject to a lien                      $18,343.59      $100,000.00
      Creditor's Name                             2021 Vanguard Dry Van Trailer F106, Serial #
                                                  ending 6569 Value $20,000.00
                                                  2021 Vanguard Dry Van Trailer F104, Serial #
                                                  ending 6568 Value $20,000.00
                                                  2021 Vanguard Dry Van Trailer F108, Serial #
                                                  ending 6572 Value $20,000.00
      10156 Live Oak Ave.                         2021 Vanguard D
      Fontana, CA 92335
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
1     Lakeland Bank                               Describe debtor's property that is subject to a lien                     $130,359.83      $100,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F120, Serial #
                                                  ending 4028 Value $25,000.00
                                                  2023 Hyundai Dry Van Trailer F121, Serial #
                                                  ending 4027 Value $25,000.00
                                                  2023 Hyundai Dry Van Trailer F122, Serial #
                                                  ending 4030 Value $25,000.00
      166 Changebridge Rd.                        2023 Hyundai Dry V
      Montville, NJ 07045
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8203
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
2     M2 Equipment Finance                        Describe debtor's property that is subject to a lien                      $39,142.59       $35,000.00




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            Name

      Creditor's Name                             2020 Freightliner 6023 Serial ending K53783
      20800 Swenson Dr.                           M2 EQUIP 00040
      Suite 475
      Waukesha, WI 53186
      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0040
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
3     Newlane Finance                             Describe debtor's property that is subject to a lien                     $99,125.36       $92,307.69
      Creditor's Name                             Qty 12 - Auxiliary Power Units
      123 S. Broad St.
      17th Floor
      Philadelphia, PA 19109
      Creditor's mailing address                  Describe the lien
                                                  Equipment Loan-APU Units
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
4     Paccar Financial                            Describe debtor's property that is subject to a lien                     $62,571.00       $40,000.00
      Creditor's Name                             2022 Kenworth 6019 serial ending 131885
      240 Gibraltor Road                          Paccar Loan 2455
      #200
      Horsham, PA 19044
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


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            Name

      2455
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
5     Paccar Financial                            Describe debtor's property that is subject to a lien                      $64,413.72       $40,000.00
      Creditor's Name                             2022 Kenworth 6022 serial ending 131884
      240 Gibraltor Road                          Paccar Loan 3882
      #200
      Horsham, PA 19044
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3882
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
6     Phoenixville Bank                           Describe debtor's property that is subject to a lien                     $168,358.40       $80,000.00
      Creditor's Name                             2020 Freightliner 6039 Serial ending KS3719
                                                  Estimated Value $40,000.00
                                                  2020 FREIGHTLINER 6040 Serial ending
                                                  KS3685 - 550,034 miles Estimated Value
      564 Nutt Road                               $40,000.00
      Phoenixville, PA 19460
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0298
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
7     Phoenixville Bank                           Describe debtor's property that is subject to a lien                      $83,085.47       $55,000.00


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            Name

      Creditor's Name                             2023 VOLVO -6043- 335,240 miles
      564 Nutt Road
      Phoenixville, PA 19460
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0301
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
8     RTS Financial Service, Inc.                 Describe debtor's property that is subject to a lien                     $881,425.00      $849,073.00
      Creditor's Name                             90 days or less: Accounts Receivables (see
                                                  list)
      9300 Metcalf Ave.
      Overland Park, KS 66212
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
9     Santander                                   Describe debtor's property that is subject to a lien                     $232,940.15      $125,000.00
      Creditor's Name                             2023 Hyundai Dry Van Trailer F124, Serial #
                                                  ending 4014 Value $25,000.00
                                                  2023 Hyundai Trailer F125, Serial # ending
                                                  4029 Value $25,000.00
                                                  2023 Hyundai Dry Van Trailer F126, Serial #
                                                  ending 4025 Value $25,000.00
      75 State Street                             2023 Hyundai Dry Van Trail
      Boston, MA 02109
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?


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Debtor       FASTLINE CARGO, LLC d/b/a FLC                                                         Case number (if known)       24-17484
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       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3
0      SBA                                         Describe debtor's property that is subject to a lien                     $157,269.00                    $0.00
       Creditor's Name
       Two Gateway Center
       Suite 1002
       Newark, NJ 07102-5006
       Creditor's mailing address                  Describe the lien
                                                   PPP Loan
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $4,394,205.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       6

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




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Fill in this information to identify the case:

Debtor name        FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:         DISTRICT OF NEW JERSEY

Case number (if known)           24-17484
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,800.24
          Amazon Capital Services                                              Contingent
          P.O. Box 035184                                                      Unliquidated
          Seattle, WA 98124-5184                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number XB9l
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          American Express Credit Card                                         Contingent
          P.O. Box 1270                                                        Unliquidated
          Newark, NJ 07101-1270                                                Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 1004
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
          Bergeys Truck Centers                                                Contingent
          462 Harleysville Pike                                                Unliquidated
          Souderton, PA 18964                                                  Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number 9417
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $600.00
          Chick's Towing                                                       Contingent
          1000 Union Landing Road                                              Unliquidated
          Riverton, NJ 08077                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




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3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,326.00
         Concentra                                                    Contingent
         Occupational Health Centers of NJ                            Unliquidated
         P.O. Box 8750                                                Disputed
         Elkridge, MD 21075-8750
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 8684                      Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $86.71
         Confires Fire Protection Services                            Contingent
         910 Oak Tree Avenue                                          Unliquidated
         South Plainfield, NJ 07080                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number x764
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $350.00
         Crystal Springs                                              Contingent
         P.O. Box 660579                                              Unliquidated
         Dallas, TX 75266-0579                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2821
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         CSAA Insurance Group                                         Contingent
         PO Box 60277                                                 Unliquidated
         Los Angeles, CA 90060-0277                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         CSAA Insurance Group                                         Contingent
         PO Box 60277                                                 Unliquidated
         Los Angeles, CA 90060-0277                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $440.37
         DAT Solutions                                                Contingent
         Box 3801                                                     Unliquidated
         P.O. Box 783801                                              Disputed
         Philadelphia, PA 19178-3801
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4625                      Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,600.00
         Federal Motor Carrier Safety Administrat                     Contingent
         31 Hopkins Plaza, Suite 800                                  Unliquidated
         Baltimore, MD 21201                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4747
                                                                   Is the claim subject to offset?     No       Yes




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3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,653.35
         Helpe, Inc.                                                  Contingent
         2604 Broad Street                                            Unliquidated
         Camden, SC 29020                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $30,000.00
         Jagjit Singh                                                 Contingent
         13 Thorn Brian Lane                                          Unliquidated
         Burlington, NJ 08016                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $309,571.46
         Libertas Funding, LLC                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $181,982.13
         Libertas Funding, LLC                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,229.32
         McCarthy Tire Services                                       Contingent
         340 Kidder Street                                            Unliquidated
         Wilkes Barre, PA 18702                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $15,890.00
         Paragon Insurance                                            Contingent
         45 Nod Road                                                  Unliquidated
         Avon, CT 06001                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2901
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,900.00
         PCS                                                          Contingent
         2103 CityWest Blvd.                                          Unliquidated
         Bldg 4, Suite 700                                            Disputed
         Houston, TX 77042
                                                                   Basis for the claim: software subscription
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $532.00
          PSE&G                                                                Contingent
          P.O. Box 14444                                                       Unliquidated
          New Brunswick, NJ 08906-4444                                         Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 5008
                                                                           Is the claim subject to offset?     No       Yes

3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $90.00
          Quickbooks-Intuit, Inc.                                              Contingent
          2800 E. Commerce Center Place                                        Unliquidated
          Tucson, AZ 85706                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 4016
                                                                           Is the claim subject to offset?     No       Yes

3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,872.00
          T-Mobile                                                             Contingent
          Attn: Bankruptcy                                                     Unliquidated
          P.O. Box 742596                                                      Disputed
          Cincinnati, OH 45274
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 4148                             Is the claim subject to offset?     No       Yes


3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          U.S. Bank Financing (Forklift)                                       Contingent
          1310 Madrid Street                                                   Unliquidated
          Marshall, MN 56258                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 8161,6644,6642
                                                                           Is the claim subject to offset?     No       Yes

3.23      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,660.00
          Vantage Towing                                                       Contingent
          107 S. Bridgeboro Street                                             Unliquidated
          Riverside, NJ 08075                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          Wells Fargo Business                                                 Contingent
          EssentIal Credit Card                                                Unliquidated
          P.O. Box 77033                                                       Disputed
          Minneapolis, MN 55480-7733
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 5027                             Is the claim subject to offset?     No       Yes


3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                        $0.00
          XPO Logistics (Rent)                                                 Contingent
          2211 Old Earnhart Road, Suite 100                                    Unliquidated
          Ann Arbor, MI 48105                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 3047
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

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            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                 Total of claim amounts
5a. Total claims from Part 1                                                                       5a.       $                          0.00
5b. Total claims from Part 2                                                                       5b.   +   $                    574,583.58

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.       $                       574,583.58




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